GLOBAL NOTES TO SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS OF
     DEBTOR, STREAM TV NETWORKS, INC., CASE NO. 21-10433(KBO)



        The Debtor develops its technology and conducts the majority of its business through its
direct and indirect foreign and domestic subsidiaries. The Debtor provided capital to its direct
and indirect foreign and domestic subsidiaries for the purpose of acquiring and developing assets
and to conduct business operations. The Debtor directs interested parties to the Declaration of
Mathu Rajan in Support of First Day Motions [Docket No. 51] in which the Debtor’s
organizational and operational structure is described in greater detail.

        In its bankruptcy schedules, the Debtor discloses and describes the assets, including its
ownership interest in direct subsidiaries and its contracts, that the Debtor owned or may have
owned as of February 24, 2021 (the “Petition Date”). The Debtor’s direct subsidiaries, in turn,
hold or may hold ownership interests in the Debtor’s indirect subsidiaries as depicted on the
Debtor’s Organization Chart included in Mr. Rajan’s Declaration. The assets of the Debtor’s
direct and indirect subsidiaries are not included in the Debtor’s bankruptcy schedules.

        It is important to note that, pursuant to an Omnibus Agreement, dated May 6, 2021,
between the Debtor’s senior secured lender, SLS Holdings VI, LLC (“SLS”) and a debt-
resolution committee of the Debtor’s Board of Directors purporting to act on the Debtor’s behalf,
which agreement is presently subject to litigation in the Chancery Court in Delaware, SLS
Holdings and its newly formed company, SeeCubic, Inc. (“SeeCubic”), assert an ownership
interest in all of the Debtor’s assets. SLS and SeeCubic possess some and claim to have obtained
possession or control of other of the Debtor’s assets shortly before the Petition Date. The
Debtor’s investigation into these claims is ongoing. Accordingly, at this time, the Debtor’s
present ownership of some of its assets may not be clear. The Debtor has listed the assets that it
believes it continues to own, unless otherwise expressly indicated in its bankruptcy schedules.
The Debtor intends to pursue recovery of assets and to operate its business under the provisions
of the Bankruptcy Code in this case.

Additional Notes:

       1.      Because US GAAP treatment may not apply to the Debtor’s assets located in
foreign jurisdictions, the values provided for certain assets may differ from typical accounting
standards.

        2.      Funding advanced by the Debtor to its direct and indirect subsidiaries are
reflected in intercompany loans.

      3.      The Debtor’s goodwill and similar intangible value is not reflected in the Debtor’s
bankruptcy schedules.

      4.       SeeCubic BV (the Netherlands) is a subsidiary of the Debtor, Stream TV
Networks, Inc. SeeCubic BV (the Netherlands) is unrelated to and is a separated entity from
SeeCubic Inc., a company newly formed in Delaware by SLS Holdings, Inc.



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 Fill in this information to identify the case:

 Debtor name         Stream TV Networks, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)          21-10433 (KBO)
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $2,688.27        $2,688.27
           California Department of                                  Check all that apply.
           Tax and Fee Adm                                            Contingent
           Account Info. Group, MIC 29                                Unliquidated
           PO Box 942879
                                                                      Disputed
           Sacramento, CA 94279-0029
           Date or dates debt was incurred                           Basis for the claim:
           3/31/2020                                                 Disability Insurance
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $8,805.72        $8,805.72
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                Contingent
           Philadelphia, PA 19101-7346                                Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           3/31/2020                                                 Medicare
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 29
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 Debtor       Stream TV Networks, Inc.                                                                        Case number (if known)   21-10433 (KBO)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $8,805.72     $8,805.72
          Internal Revenue Service                                   Check all that apply.
          PO Box 7346                                                 Contingent
          Philadelphia, PA 19101-7346                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          3/31/2020                                                  Medicare Employer Portion
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $32,006.82     $32,006.82
          Internal Revenue Service                                   Check all that apply.
          PO Box 7346                                                 Contingent
          Philadelphia, PA 19101-7346                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          3/31/2020                                                  Social Security
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $32,006.82     $32,006.82
          Internal Revenue Service                                   Check all that apply.
          PO Box 7346                                                 Contingent
          Philadelphia, PA 19101-7346                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          3/31/2020                                                  Social Security Employer Portion
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $69,097.66     $69,097.66
          Internal Revenue Service                                   Check all that apply.
          PO Box 7346                                                 Contingent
          Philadelphia, PA 19101-7346                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          12/31/2020                                                 Income Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Stream TV Networks, Inc.                                                                        Case number (if known)   21-10433 (KBO)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $4,580.49     $4,580.49
          Internal Revenue Service                                   Check all that apply.
          PO Box 7346                                                 Contingent
          Philadelphia, PA 19101-7346                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          3/31/2020                                                  941/944
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $711.31     $711.31
          Internal Revenue Service                                   Check all that apply.
          PO Box 7346                                                 Contingent
          Philadelphia, PA 19101-7346                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          3/31/2020                                                  940
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $476.88     $476.88
          Nevada Dept. of Employment                                 Check all that apply.
          Training & Rehabilitation                                   Contingent
          500 E. Third Street                                         Unliquidated
          Carson City, NV 89713
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          3/31/2020                                                  Unemployment Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $399.14     $399.14
          New Jersey Division of Taxation                            Check all that apply.
          Compliance&Enforcement-Bankru                               Contingent
          ptcy                                                        Unliquidated
          50 Barrack Street, 9th Floor
                                                                      Disputed
          PO Box 245
          Trenton, NJ 08695-0267
          Date or dates debt was incurred                            Basis for the claim:
          12/31/2020                                                 Income Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Stream TV Networks, Inc.                                                                        Case number (if known)   21-10433 (KBO)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                             $0.00     $0.00
          NJ Division of Taxation                                    Check all that apply.
          Bankruptcy Section                                          Contingent
          PO Box 245                                                  Unliquidated
          Trenton, NJ 08695-0245
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          3/31/2020                                                  Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,763.45     $1,763.45
          Pennsylvania Department of                                 Check all that apply.
          Revenue                                                     Contingent
          Department 280946                                           Unliquidated
          Attn: Bankruptcy Division
                                                                      Disputed
          Harrisburg, PA 17128-0946
          Date or dates debt was incurred                            Basis for the claim:
          12/31/2020                                                 Income Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $460.47     $460.47
          Pennsylvania Department of                                 Check all that apply.
          Revenue                                                     Contingent
          Department 280946                                           Unliquidated
          Attn: Bankruptcy Division
                                                                      Disputed
          Harrisburg, PA 17128-0946
          Date or dates debt was incurred                            Basis for the claim:
          3/31/2020                                                  Unemployment Insurance
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,165.62     $1,165.62
          Pennsylvania Department of                                 Check all that apply.
          Revenue                                                     Contingent
          Department 280946                                           Unliquidated
          Attn: Bankruptcy Division
                                                                      Disputed
          Harrisburg, PA 17128-0946
          Date or dates debt was incurred                            Basis for the claim:
          12/31/2020                                                 Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Stream TV Networks, Inc.                                                                        Case number (if known)   21-10433 (KBO)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,324.21     $1,324.21
          Pennsylvania Department of                                 Check all that apply.
          Revenue                                                     Contingent
          Department 280946                                           Unliquidated
          Attn: Bankruptcy Division
                                                                      Disputed
          Harrisburg, PA 17128-0946
          Date or dates debt was incurred                            Basis for the claim:
          3/31/2020                                                  Local Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $3,821.13     $3,821.13
          Pennsylvania Department of                                 Check all that apply.
          Revenue                                                     Contingent
          Department 280946                                           Unliquidated
          Attn: Bankruptcy Division
                                                                      Disputed
          Harrisburg, PA 17128-0946
          Date or dates debt was incurred                            Basis for the claim:
          3/31/2020                                                  Unemployment Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $156.00     $156.00
          Pennsylvania Department of                                 Check all that apply.
          Revenue                                                     Contingent
          Department 280946                                           Unliquidated
          Attn: Bankruptcy Division
                                                                      Disputed
          Harrisburg, PA 17128-0946
          Date or dates debt was incurred                            Basis for the claim:
          12/31/2020                                                 Sales tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $10,642.58     $10,642.58
          Philadelphia Department of                                 Check all that apply.
          Revenue                                                     Contingent
          Municipal Services Building                                 Unliquidated
          1401 JFK Boulevard                                          Disputed
          Philadelphia, PA 19102
          Date or dates debt was incurred                            Basis for the claim:
          12/31/2020                                                 Income Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor       Stream TV Networks, Inc.                                                                        Case number (if known)   21-10433 (KBO)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $5,000.00     $5,000.00
          Secretary of State                                         Check all that apply.
          Division of Corporations                                    Contingent
          Franchise Tax                                               Unliquidated
          PO Box 898
                                                                      Disputed
          Dover, DE 19903
          Date or dates debt was incurred                            Basis for the claim:
          12/31/2020                                                 Franchise Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $20,121.89     $20,121.89
          State of California                                        Check all that apply.
          Franchise Tax Board                                         Contingent
          Bankruptcy Section, MS: A-340                               Unliquidated
          PO Box 2952
                                                                      Disputed
          Sacramento, CA 95812-2952
          Date or dates debt was incurred                            Basis for the claim:
          12/31/2020
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $9,808.22     $9,808.22
          State of California                                        Check all that apply.
          Employment Development                                      Contingent
          Department                                                  Unliquidated
          PO Box 826880, DICO, MIC 29
                                                                      Disputed
          Sacramento, CA 94280
          Date or dates debt was incurred                            Basis for the claim:
          3/31/2020                                                  CA PIT/SDI
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $2,598.75     $2,598.75
          State of California                                        Check all that apply.
          Employment Development                                      Contingent
          Department                                                  Unliquidated
          PO Box 826880, UIPCD, MIC 40
                                                                      Disputed
          Sacramento, CA 94280
          Date or dates debt was incurred                            Basis for the claim:
          3/31/2020                                                  SUI/ETT
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




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 Debtor        Stream TV Networks, Inc.                                                                       Case number (if known)          21-10433 (KBO)
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 2.23       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $123.75    $123.75
            State of Florida, Dept. of Revenue                       Check all that apply.
            Attn: Mark Hamilton                                       Contingent
            PO Box 6668                                               Unliquidated
            Tallahassee, FL 32314-6668
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
            3/31/2020                                                Unemployment Tax
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.24       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                        $11.11    $11.11
            Texas Workforce Commission                               Check all that apply.
            PO Box 149037                                             Contingent
            Austin, TX 78714-9037                                     Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
            3/31/2020                                                Unemployment Tax
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $7,500.00
           3Detroit Film Co. LLC                                                    Contingent
           2385 N. Pine Center St                                                   Unliquidated
           West Bloomfield, MI 48323                                                Disputed
           Date(s) debt was incurred 2017-2018
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $4,000.00
           Aaron Lamkin                                                             Contingent
           793A East Foothill Blvd. #43                                             Unliquidated
           San Luis Obispo, CA 93405                                                Disputed
           Date(s) debt was incurred 5/20/2019
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $1,159.00
           Abu Dhabi Investment Council                                             Contingent
           P.O. Box 61999                                                           Unliquidated
           Abu Dhabi, UAE                                                           Disputed
           Date(s) debt was incurred 10/09/2017
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes




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 Debtor       Stream TV Networks, Inc.                                                                Case number (if known)            21-10433 (KBO)
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,820.00
          Ac Lordi                                                            Contingent
          75 Valley Stream Parkway Suite 201                                  Unliquidated
          Malvern, PA 19355                                                   Disputed
          Date(s) debt was incurred 2016-2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $324,644.60
          Adept Chip Service Private Ltd.
          Site No.86, 1st Floor,                                              Contingent
           LRDI Layout Karthik Nagar,                                         Unliquidated
          fvlarathahalli Outer Ring                                           Disputed
          Bengaluru, India 560037
                                                                             Basis for the claim:
          Date(s) debt was incurred 2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,153.90
          Adrian & Roth                                                       Contingent
          Personalberatung GmbH                                               Unliquidated
          Tengstraße 45                                                       Disputed
          Munchen, Germany 80796
                                                                             Basis for the claim:
          Date(s) debt was incurred 2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Advanced Imaging Society                                            Contingent
          16027 Ventura Blulevard Suite #301                                  Unliquidated
          Encino, CA 91436                                                    Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,020.00
          Alliance International Law Offices                                  Contingent
          75-1, 58 Chung Shan N. Rd. Sec. 3                                   Unliquidated
          Taipei, Taiwan                                                      Disputed
            10452
                                                                             Basis for the claim:
          Date(s) debt was incurred 2016-2018
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $91,700.00
          Alvarte Technology LLP.                                             Contingent
          S No29, PL52, Office #201                                           Unliquidated
          Bhama Emrald, Satara Road, Dhankawadi                               Disputed
          Pune, Maharashtra 411043
                                                                             Basis for the claim:
          Date(s) debt was incurred 2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,544.12
          Amanda Von Ahnen                                                    Contingent
          105 Edwards Run Road                                                Unliquidated
          Mount Royal, NJ 08061                                               Disputed
          Date(s) debt was incurred February 2020
                                                                             Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,055.08
          AON Risk Services Inc.                                              Contingent
          of New York                                                         Unliquidated
          111 Wall Street                                                     Disputed
          New York, NY
                                                                             Basis for the claim:
          Date(s) debt was incurred 2017-2021
          Last 4 digits of account number 0043                               Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $132,500.00
          Arasan Chip Systems, Inc.                                           Contingent
          2150 North First Street, Suite 240                                  Unliquidated
          San Jose, CA 95131                                                  Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,626.25
          Aria Resort-Casino At Ctycntr                                       Contingent
          4882 Frank Sinatra Dr                                               Unliquidated
          Las Vegas, NV 89158                                                 Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,024.42
          Avnet EM                                                            Contingent
          2211 South 47th Street                                              Unliquidated
          Phoenix, AZ 85034                                                   Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,066.00
          AY Commercial Law Offices                                           Contingent
          9F, No. 333, Sec. 1, Keelung Road                                   Unliquidated
          Taipei City, Taiwan ROC 11012                                       Disputed
          Date(s) debt was incurred 2018-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,880.00
          BDO USA, LLP                                                        Contingent
          75 Valley Stream Parkway                                            Unliquidated
          Suite 201                                                           Disputed
          Malvern, PA 19355
                                                                             Basis for the claim:
          Date(s) debt was incurred 2014-2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,963.23
          Blue Ocean Partners                                                 Contingent
          100 Queens Rd .                                                     Unliquidated
          Central, Hong Kong, China                                           Disputed
          Date(s) debt was incurred 2018-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,000.00
          Bubble Communications
          East Side Complex - Room 555                                        Contingent
          Pinewood Studios, Pinewood Road                                     Unliquidated
          Iver Heath                                                          Disputed
          Buckinghamshire, UK SL0 0NH
                                                                             Basis for the claim:
          Date(s) debt was incurred 2018-2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,816.50
          Buchanan Ingersoll
          & Rooney PC                                                         Contingent
          919 North Market Street                                             Unliquidated
          Suite 1500                                                          Disputed
          Wilmington, DE 19801
                                                                             Basis for the claim:
          Date(s) debt was incurred 2018-2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $524,340.00
          Cadence Design Systems, Inc.                                        Contingent
          2655 Seely Avenue                                                   Unliquidated
          San Jose, CA 95134                                                  Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,117.24
          Capital One                                                         Contingent
          P.O. Box 71083                                                      Unliquidated
          Charlotte, NC 28272-1083                                            Disputed
          Date(s) debt was incurred 2009-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,967.66
          Capital One-5                                                       Contingent
          P.O.Box 71083                                                       Unliquidated
          Charlotte, NC 28272-1083                                            Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,355.02
          CCH Incorporated                                                    Contingent
          (Wolters Kluwer)                                                    Unliquidated
          P.O. Box 4307                                                       Disputed
          Carol Stream, IN 60197-4307
                                                                             Basis for the claim:
          Date(s) debt was incurred 2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $53,153.47
          Charles Robertson                                                   Contingent
          9339 Woodley Ave                                                    Unliquidated
          North Hills, CA 91343                                               Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,818.92
          Charles Robertson                                                   Contingent
          9339 Woodley Avenue                                                 Unliquidated
          North Hills, CA 91343                                               Disputed
          Date(s) debt was incurred February 2020
                                                                             Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,724.62
          Che Wei Chang                                                       Contingent
          327 Camphor Avenue                                                  Unliquidated
          San Jose, CA 95131                                                  Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $117,600.00
          Cipher Development Partners LLC                                     Contingent
          1381 McCarthy Blvd.                                                 Unliquidated
          Milpitas, CA 95035                                                  Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,398.37
          Citi Cards                                                          Contingent
          PO BOX 9001037                                                      Unliquidated
          Louisville, KY 40290-1037                                           Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,065.00
          Cittone Demers & Arneri LLP                                         Contingent
          11 Broadway                                                         Unliquidated
          Suite 615                                                           Disputed
          New York, NY 10040
                                                                             Basis for the claim:
          Date(s) debt was incurred 2019-2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,984.84
          CNA INSURANCE                                                       Contingent
          PO. BOX 790094                                                      Unliquidated
          ST LOUIS, MO 63179-0094                                             Disputed
          Date(s) debt was incurred 12/31/2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,012.96
          Concur Technologies, Inc.                                           Contingent
          62157 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,200.00
          Conference Technologies, Inc.                                       Contingent
          11653 Adie Road                                                     Unliquidated
          Maryland Heights, MO 63043                                          Disputed
          Date(s) debt was incurred 9/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,285.00
          Coral Vision Ltd                                                    Contingent
          Easton House, Manor Way                                             Unliquidated
          Oxshott, UK KT22 0HU                                                Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          Core Technology LLC                                                 Contingent
          PO Box 799                                                          Unliquidated
          Gloucester, VA 23061                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $90.00
          Corporate Filings                                                   Contingent
          30 North Gould Street                                               Unliquidated
          Suite 7001                                                          Disputed
          Sheridan, WY 82801
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/23/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,279.31
          Cousins Law                                                         Contingent
          Brandywine Plaza West                                               Unliquidated
          1521 Concord Pike, Suite 301                                        Disputed
          Wilmington, DE 19803
                                                                             Basis for the claim:
          Date(s) debt was incurred 2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,125.00
          Coverall North America, Inc.                                        Contingent
          2955 Momentum Place                                                 Unliquidated
          Chicago, IL 60689                                                   Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,600.00
          Cryslink Technologies Co., Ltd
          BLK 15, ChuangTou Industrial                                        Contingent
          Square 2                                                            Unliquidated
          SIP Suzhou                                                          Disputed
          PR China
                                                                             Basis for the claim:
          Date(s) debt was incurred 2/24/2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,004.22
          Daniel J. Rink                                                      Contingent
          1017 E. 28th Street                                                 Unliquidated
          Houston, TX 77009                                                   Disputed
          Date(s) debt was incurred      2/28/2020                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,070.57
          Daniel J. Rink                                                      Contingent
          1017 E. 28th Street                                                 Unliquidated
          Houston, TX 77009                                                   Disputed
          Date(s) debt was incurred      February 2020                       Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,564.00
          Dell Financial Services                                             Contingent
          P.O. Box 5292                                                       Unliquidated
          Carol Stream, IL 60197-5292                                         Disputed
          Date(s) debt was incurred 2018-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,250.00
          DeMartino and Associates LLC                                        Contingent
          875 Union Ave.                                                      Unliquidated
          Boulder, CO 80304                                                   Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,976.63
          Dezan Shira & Associates
          Suite EF06, East Tower                                              Contingent
          Twin Towers, B12                                                    Unliquidated
          Jian Guo Men Wai Avenue                                             Disputed
          Beijing, China 1000022
                                                                             Basis for the claim:
          Date(s) debt was incurred 2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,000.00
          Digital Content Protection LLC                                      Contingent
          3855 SW 153rd Drive                                                 Unliquidated
          Beaverton, OR 97006                                                 Disputed
          Date(s) debt was incurred 3/29/2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $798,925.44
          DLA Piper LLP(US)                                                   Contingent
          6225 Smith Avenue                                                   Unliquidated
          Baltimore, MD 21209-3600                                            Disputed
          Date(s) debt was incurred 2011-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $420.00
          Dunner Law PLLC                                                     Contingent
          3243 P Street, N.W.                                                 Unliquidated
          Washington, DC 20007                                                Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $216,179.17
          Elliott Greenleaf                                                   Contingent
          1105 North Market Street                                            Unliquidated
          17th Floor                                                          Disputed
          Wilmington, DE 19801-1216
                                                                             Basis for the claim:
          Date(s) debt was incurred 2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $600.00
          EMA Design Automation                                               Contingent
          225 Park Tech Dr.                                                   Unliquidated
          Rochester, NY 14623                                                 Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $68.99
          EME Enterprise Inc.                                                 Contingent
          1256 West Winton Avenue                                             Unliquidated
          Hayward, CA 94545                                                   Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,550.00
          Eric Singer                                                         Contingent
          200 E. 71st Street                                                  Unliquidated
          New York, NY 10021                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,000.00
          ESPN Inc Miscellaneous                                              Contingent
          P.O. Box 732527                                                     Unliquidated
          Dallas, TX 75373-2527                                               Disputed
          Date(s) debt was incurred 2015-2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,093.44
          Farrukh Shah Kahn                                                   Contingent
          1564 Kooser Road                                                    Unliquidated
          San Jose, CA 95118                                                  Disputed
          Date(s) debt was incurred      February 2020                       Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,543.43
          Feng Tsang Corporation-TWN                                          Contingent
          1F, No. 1, Alley 50                                                 Unliquidated
          Lane 737, Sec. 1                                                    Disputed
          Nei Hu Road, Taipei, TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred 2016-2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,432.00
          Feng Tsang Corporation-TWN                                          Contingent
          1F, No. 1, Alley 50                                                 Unliquidated
          Lane 737, Sec. 1                                                    Disputed
          Nei Hu Road, Taipei, TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred 2017-2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,000.00
          FHP Consultants Ltd
          Goddard's Green Barn                                                Contingent
          Goddard's Green Road                                                Unliquidated
          Benenden                                                            Disputed
          Kent, UK TN17 4AR
                                                                             Basis for the claim:
          Date(s) debt was incurred 2018-2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,000.00
          First Sentinel Advisory Limited                                     Contingent
          Office Suite 12A                                                    Unliquidated
          55 Park Lane                                                        Disputed
          London, England UK W1K 1QG
                                                                             Basis for the claim:
          Date(s) debt was incurred 2019-2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,332.87
          Fornax Associates Ltd.                                              Contingent
          70C 16 Buckhold Rd.                                                 Unliquidated
          London, England UK Sw18 4fy                                         Disputed
          Date(s) debt was incurred 1/1/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,602.37
          Frewin & Close Ltd.                                                 Contingent
          18 Oakley Street                                                    Unliquidated
          London, England SW3 5NT                                             Disputed
          UK
                                                                             Basis for the claim:
          Date(s) debt was incurred 2018-2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $46,922.47
          FTI Consulting (China) Limited                                      Contingent
          Unit 2101-04, Central Plaza                                         Unliquidated
          227 Huangpi (N) Road                                                Disputed
          Shanghai, China 200003
                                                                             Basis for the claim:
          Date(s) debt was incurred 2018-2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,005.90
          FULL FRONTAL GROUP FZ LLE                                           Contingent
          Souk Al Bahar, Old Town Island                                      Unliquidated
          Burj Khalifa District                                               Disputed
          Dubai, UAE
                                                                             Basis for the claim:
          Date(s) debt was incurred 2016-2017
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,612.50
          Global Tax Management                                               Contingent
          656 E. Swedesford Rd., Suite 200                                    Unliquidated
          Wayne, PA 19087                                                     Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,003.15
          HDMI Licensing Administrator, Inc.                                  Contingent
          550 S. Winchester Blvd Suite 515                                    Unliquidated
          San Cose, CA 95128                                                  Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,691.63
          Hoang Nguyen                                                        Contingent
          359 Dale Drive                                                      Unliquidated
          San Jose, CA 95127                                                  Disputed
          Date(s) debt was incurred      February 2020                       Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,498,465.34
          Hold Jumper (Suzhou) Packing Co. Ltd.                               Contingent
          No. 1, Xiang Street, High-Tech District                             Unliquidated
          Suzhou, China                                                       Disputed
          Date(s) debt was incurred 12/28/2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,258.00
          Howell International Trade Fair Ltd
          5A-604 Houxiandaicheng                                              Contingent
          No. 16 Baiziwan Rd.                                                 Unliquidated
          Chaoyang District                                                   Disputed
          Beijing, China
                                                                             Basis for the claim:
          Date(s) debt was incurred 2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $805,177.00
          HSBC Bank USA, N.A.                                                 Contingent
          140 Broadway                                                        Unliquidated
          Suite 5020                                                          Disputed
          New York, NY 10005
                                                                             Basis for the claim:    Paycheck Protection Program
          Date(s) debt was incurred
          Last 4 digits of account number       7105                         Is the claim subject to offset?    No  Yes




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 Debtor       Stream TV Networks, Inc.                                                                Case number (if known)            21-10433 (KBO)
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 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,770.00
          Hudson Valuation Group LLC                                          Contingent
          One Glenlake Parkway Suite #700                                     Unliquidated
          Atlanta, GA 30328                                                   Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $7,496,040.62
          Iinuma Gauge
          Manufacturing Co., Ltd (JPY)                                        Contingent
          11400-327 Harayama, Tamagawa                                        Unliquidated
          Chino-City                                                          Disputed
          Nagano, Japan 391-0011
                                                                             Basis for the claim:
          Date(s) debt was incurred 2015-2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $426,437.00
          IMG Media Ltd                                                       Contingent
          Building 6, Chiswick Park                                           Unliquidated
          566 Chiswick High Road                                              Disputed
          London, England UK W4 5HR
                                                                             Basis for the claim:
          Date(s) debt was incurred 2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $500.00
          infoComm International                                              Contingent
          11242 Waples Mill Rd, Suite 200                                     Unliquidated
          Fairfax, VA 22030                                                   Disputed
          Date(s) debt was incurred 4/6/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $178,100.96
          Innoventures Group LLC                                              Contingent
          1105 William Penn Drive                                             Unliquidated
          Bensalem, PA 19020                                                  Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,893.63
          Itaya Misa (TWD)                                                    Contingent
          1F, No. 1, Alley 50                                                 Unliquidated
          Lane 737, Sec. 1, Nei Hu Road                                       Disputed
          Taipei, TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred 2019-2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,500.00
          IZON                                                                Contingent
          2005 Tree Fork Lane, Suite 109                                      Unliquidated
          Longwood, FL 32750                                                  Disputed
          Date(s) debt was incurred 12/29/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $122,768.45
          Jamuna Travels, Inc                                                 Contingent
          6439 Market St                                                      Unliquidated
          Upper Darby, PA 19082                                               Disputed
          Date(s) debt was incurred 2018-2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,318.00
          Karen S. Donovan                                                    Contingent
          393 Mystic Street                                                   Unliquidated
          Arlington, MA 02474                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,617.61
          Kaushik Banerjee                                                    Contingent
          342 Stanforth Court                                                 Unliquidated
          San Ramon, CA 94582                                                 Disputed
          Date(s) debt was incurred 3/3/2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,264.97
          Kaushik Banerjee                                                    Contingent
          342 Stanforth Court                                                 Unliquidated
          San Ramon, CA 94582                                                 Disputed
          Date(s) debt was incurred February 2020
                                                                             Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,000.00
          Kenneth W. Carroll                                                  Contingent
          8379 Sweet Briar Court                                              Unliquidated
          Liberty Township, Ohio 45044-0000                                   Disputed
          Date(s) debt was incurred 1/31/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,376.87
          Kevin Cabot                                                         Contingent
          11 Rue Paul Langevin                                                Unliquidated
          Saint Ouen                                                          Disputed
          France 93400
                                                                             Basis for the claim:
          Date(s) debt was incurred 2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $987.13
          Kleinwort Benson (GBP)                                              Contingent
          14 St. George Street                                                Unliquidated
          London, England UK W1S 1FE                                          Disputed
          Date(s) debt was incurred 8/30/2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,776.42
          Law offices of Young K. Park                                        Contingent
          2009 Chestnut street                                                Unliquidated
          Philadelphia, PA 19103                                              Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,800.00
          Lee and Ko                                                          Contingent
          Hanjin Buliding, 63 Namdaemun-ro                                    Unliquidated
          Jung-gu                                                             Disputed
          Seoul, Korea 04532
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/3/2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,347.73
          Leo J. Riley                                                        Contingent
          225 Aqua Lane                                                       Unliquidated
          Delran, NJ 08075                                                    Disputed
          Date(s) debt was incurred      February 2020                       Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,317.08
          Leo Riley                                                           Contingent
          225 Aqua Lane                                                       Unliquidated
          Delran, NJ 08075                                                    Disputed
          Date(s) debt was incurred      3/3/2020                            Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,233.09
          Luijks Advies B.V.                                                  Contingent
          Vinkenkade 41 R 3                                                   Unliquidated
          Vinkeveen, The Netherlands 3645 AP                                  Disputed
          Date(s) debt was incurred 1/5/2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,682.93
          Luong D. Nguyen                                                     Contingent
          2801 Camino Del Rey                                                 Unliquidated
          San Jose, CA 95132                                                  Disputed
          Date(s) debt was incurred February 2020
                                                                             Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $146,820.00
          Marcum LLP                                                          Contingent
          One SE Third Ave, Suite 1100                                        Unliquidated
          Miami, FL 33131                                                     Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $259,354.47
          Mathu Rajan, CEO                                                    Contingent
          2009 Chestnut Street                                                Unliquidated
          3rd Floor                                                           Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,325.57
          Mathu Rajan                                                         Contingent
          1105 William Penn Drive                                             Unliquidated
          Bensalem, PA 19020                                                  Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $155,000.00
          Matrex Exhibits, Inc.                                               Contingent
          301 S. Church St.                                                   Unliquidated
          Addison, IL 60101                                                   Disputed
          Date(s) debt was incurred      9/30/2019                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $120.46
          Matt J. Lo.                                                         Contingent
          7322 Carter Ave                                                     Unliquidated
          Newark, CA 94560                                                    Disputed
          Date(s) debt was incurred      9/16/2019                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,128.63
          Matthew Lo                                                          Contingent
          7322 Carter Avenue                                                  Unliquidated
          Newark, CA 94560                                                    Disputed
          Date(s) debt was incurred      February 2020                       Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60,000.00
          Mediatainment, Inc                                                  Contingent
          1105 William Penn Drive                                             Unliquidated
          Bensalem, PA 19020                                                  Disputed
          Date(s) debt was incurred 2018-2020
                                                                             Basis for the claim:    Vendor Work
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $890,590.68
          Mediatainment, Inc.                                                 Contingent
          Attn: Raja Rajan                                                    Unliquidated
          1105 William Penn Drive                                             Disputed
          Bensalem, PA 19020
                                                                             Basis for the claim:    Note
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $402,564.00
          Mentor Graphics Corporation                                         Contingent
          8005 SW Boeckman Rd.                                                Unliquidated
          Wilsonville, OR 97070-7777                                          Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,187.07
          Modular Mobile GmbH                                                 Contingent
          Hansaallee 201                                                      Unliquidated
          Dusseldorf, GERMANY                                                 Disputed
          D-450549
                                                                             Basis for the claim:
          Date(s) debt was incurred 2019-2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,281.89
          MotivIT                                                             Contingent
          2880 Zanker Rd., Suite 203                                          Unliquidated
          San Jose, CA 95134                                                  Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,849.00
          MTL Shipping & Investment Ltd.
          203 Al Zahra Techno Center                                          Contingent
          Al Fardan Exchange Bldg.                                            Unliquidated
          Khalid Bin Walid Street                                             Disputed
          Dubai, UAE
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,535.00
          Muni Mohan                                                          Contingent
          4612 Aviara Ct.                                                     Unliquidated
          San Jose, CA 95135                                                  Disputed
          Date(s) debt was incurred      2/28/2020                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,113.47
          Muni Mohan                                                          Contingent
          4612 Aviara Court                                                   Unliquidated
          San Jose, CA 95135                                                  Disputed
          Date(s) debt was incurred      February 2020                       Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $75,811.00
          MWL International Ltd.                                              Contingent
          Attn: David Walpole                                                 Unliquidated
          1 Paper Mews, 330 High Street                                       Disputed
          Dorking, Surrey RH4 2TU
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,400.27
          Nicole Marie Maneen                                                 Contingent
          1691 Glenburn Court                                                 Unliquidated
          Niceville, FL 32578                                                 Disputed
          Date(s) debt was incurred      February 2020                       Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,682.42
          Open Sales Solutions, LLC                                           Contingent
          548 Market Street, Suite 11745                                      Unliquidated
          San Francisco, CA 94104                                             Disputed
          Date(s) debt was incurred 2015-2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,539.78
          Pactron                                                             Contingent
          3000 Patrick Henry Dr                                               Unliquidated
          Santa Clara, CA 95054-1814                                          Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,125,415.54
          Pegatron Corporation                                                Contingent
          5F., No. 76, Ligong St., Beitou District                            Unliquidated
          Taipei City 112                                                     Disputed
          Taiwan
                                                                             Basis for the claim:
          Date(s) debt was incurred 2017-2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,000.00
          Porter Digital Signage                                              Contingent
          241 N. Caldwell Circle                                              Unliquidated
          Downingtown, PA 19335                                               Disputed
          Date(s) debt was incurred 2017
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $9,198.00
          PR NESWIRE ASSOCIATION, LLC                                         Contingent
          G.P.O. Box 5897                                                     Unliquidated
          New York, NY 10087-5897                                             Disputed
          Date(s) debt was incurred 2018
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,807.60
          Raja Rajan                                                          Contingent
          928 McElwee                                                         Unliquidated
          Moorestown, NJ 08057                                                Disputed
          Date(s) debt was incurred February 2020
                                                                             Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $935.86
          RL Systems                                                          Contingent
          Old Post Office Cottage, Post Office Rd                             Unliquidated
          Inkpen, Berkshire, RG17 9PY                                         Disputed
          United Kingdon
                                                                             Basis for the claim:
          Date(s) debt was incurred 12/16/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,321.53
          Robert Half Management Svs.                                         Contingent
          12400 Collections Center Drive                                      Unliquidated
          Chicago, IL 60693                                                   Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,115.00
          Robert S. French Revocable                                          Contingent
          Trust 2018                                                          Unliquidated
          1712 KImberly Drive                                                 Disputed
          Sunnyvale, CA 94087
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $173,257.51
          Salazar Law                                                         Contingent
          2121 SW 3rd Avenue                                                  Unliquidated
          Suite 100                                                           Disputed
          Miami, FL 33129
                                                                             Basis for the claim:
          Date(s) debt was incurred      2020-2021
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,527.57
          Sara Leona Robertson                                                Contingent
          72 Puerto Viejo Trail                                               Unliquidated
          Henderson, NV 89074                                                 Disputed
          Date(s) debt was incurred February 2020
                                                                             Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,500.00
          SeeCubic B.V.                                                       Contingent
          Park Forum 1033 & 1035                                              Unliquidated
          Eindhoven                                                           Disputed
          The Netherlands 5657HJ
                                                                             Basis for the claim:
          Date(s) debt was incurred 2011-2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $7,500.00
          SKC Haas Display Films Co.                                          Contingent
          460,Chonheung-Ri,Songgo-Ub                                          Unliquidated
          Chonan-City                                                         Disputed
          Chungchongnam-Do 330-836,Korea
                                                                             Basis for the claim:
          Date(s) debt was incurred 2015-2016
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       Stream TV Networks, Inc.                                                                Case number (if known)            21-10433 (KBO)
              Name

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $0.00
          SLS Holdings VI, LLC                                                Contingent
          392 Taylor Mills Road                                               Unliquidated
          Marlboro, NJ 07746                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,930.59
          Special Counsel                                                     Contingent
          Dept. CH 14305                                                      Unliquidated
          Palatine, IL 60055-4305                                             Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $143,448.99
          ST4M Electronics, Inc. Beijing Office                               Contingent
          Room 1102, Building 313                                             Unliquidated
          Hui Zhong Bei Li                                                    Disputed
          Beijing, Chaoyang District, China
                                                                             Basis for the claim:
          Date(s) debt was incurred 2018-2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,313.46
          ST4M Electronics, Inc. Beijing Office                               Contingent
                                                                              Unliquidated
          Date(s) debt was incurred      2018-2020                            Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $44.78
          Stoit Groep B.V.                                                    Contingent
          Vestdijk 23                                                         Unliquidated
          Eindhoven                                                           Disputed
          The Netherlands 5611 CA 05611
                                                                             Basis for the claim:
          Date(s) debt was incurred 2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,569.35
          Stream TV International B.V.                                        Contingent
          Park Forum 1033 & 1035                                              Unliquidated
          Eindhoven                                                           Disputed
          The Netherlands 5657HJ
                                                                             Basis for the claim:
          Date(s) debt was incurred 2017-2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,158.50
          Suby Joseph                                                         Contingent
          48 Colleen Circle                                                   Unliquidated
          Downingtown, PA 19335                                               Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,608.74
          Suby Joseph                                                         Contingent
          48 Colleen Circle                                                   Unliquidated
          Downingtown, PA 19335                                               Disputed
          Date(s) debt was incurred February 2020
                                                                             Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,202.51
          Suzhou Industrial Equipment                                         Contingent
          Installation                                                        Unliquidated
          No. 3, Caixiang Road                                                Disputed
          Suzhou, Jiangsu, China
                                                                             Basis for the claim:
          Date(s) debt was incurred 2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $105,227.59
          Synopsys                                                            Contingent
          690 East Middlefield Road                                           Unliquidated
          Mountain View, CA 94043                                             Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,912.61
          TD BANK, N. A.                                                      Contingent
          PO.Box 16027                                                        Unliquidated
          Lewiston, ME 04243-9513                                             Disputed
          Date(s) debt was incurred 2018-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,300.00
          Three D Holograms Pvt. Ltd.
          307 Kilfire House                                                   Contingent
          C-17 Dalia Industrial Area                                          Unliquidated
          New Link Road, Andheri-West                                         Disputed
          Mumbai, Maharashtra India 00040-0053
                                                                             Basis for the claim:
          Date(s) debt was incurred 8/30/2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $326,055.00
          Todd Tuls                                                           Contingent
          4230 Conner Drive                                                   Unliquidated
          Columbus, NE 68601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Unsecured Loans
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $420,000.00
          Trans World International, LLC                                      Contingent
          200 Fifth Ave 7th Floor                                             Unliquidated
          New York, NY 10010                                                  Disputed
          Date(s) debt was incurred 2018-2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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              Name

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $162,115.13
          Triple Crown Consulting, LLC                                        Contingent
          10814 Jollyville Rd, Suite 100                                      Unliquidated
          Austin, Texas 78759-0000                                            Disputed
          Date(s) debt was incurred 2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,469.40
          U.S. Legal Support, Inc.                                            Contingent
          PO Box 4772                                                         Unliquidated
          Houston, TX 77210-4772                                              Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $880.08
          UHaul                                                               Contingent
          201 US Highway 130S                                                 Unliquidated
          Cinnaminson, NJ 08077                                               Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $165,281.93
          US Compliance Services LLC                                          Contingent
          199 North Woodbury Road Suite # 103                                 Unliquidated
          Pitman, NJ 08071                                                    Disputed
          Date(s) debt was incurred 2011-2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $173,798.00
          Vayikra Capital LLC                                                 Contingent
          1 Farmstead Road                                                    Unliquidated
          Short Hills, NJ 07078                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $214.81
          Via Licensing Corporation                                           Contingent
          1275 Market Street                                                  Unliquidated
          San Francisco, CA 94103-1410                                        Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,729.98
          Vikas Kshetrapal                                                    Contingent
          2287 Ashbourne Drive                                                Unliquidated
          San Ramon, CA 94583                                                 Disputed
          Date(s) debt was incurred 2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $6,509.32
          Vikas Kshetrapal                                                    Contingent
          2287 Ashbourne Drive                                                Unliquidated
          San Ramon, CA 94583                                                 Disputed
          Date(s) debt was incurred February 2020
                                                                             Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $972.00
          Visual apex, Inc                                                    Contingent
          7950 NE Day Road W, Suite B                                         Unliquidated
          Bainbridge Island, WA 98110                                         Disputed
          Date(s) debt was incurred 10/21/2016
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,947.49
          Wah Woo Tan                                                         Contingent
          243 Summerwind Drive                                                Unliquidated
          Milpitas, CA 95035                                                  Disputed
          Date(s) debt was incurred February 2020
                                                                             Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1,874.05
          Wai Ming Chiu                                                       Contingent
          1798 Cape Coral Dr                                                  Unliquidated
          San Jose, CA 95133                                                  Disputed
          Date(s) debt was incurred      2019-2020                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $5,053.11
          Wai Ming Chiu                                                       Contingent
          1798 Cape Coral Drive                                               Unliquidated
          San Jose, CA 95133                                                  Disputed
          Date(s) debt was incurred February 2020
                                                                             Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,640.00
          Walsh C.H.B. Inc                                                    Contingent
          189 Sunrise Highway Suite # 302                                     Unliquidated
          Rockville Centre, NY 11570                                          Disputed
          Date(s) debt was incurred 2014-2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,316.40
          Weida Freight System Co.
          Flat 402, 4/F., Yee Kuk Indust. Ctr                                 Contingent
          555 Yee Kuk Street                                                  Unliquidated
          Cheung Sha Wan, Kowloon                                             Disputed
          Hong Kong, China
                                                                             Basis for the claim:
          Date(s) debt was incurred 2019
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,383.77
          Wharton Capital Partners                                            Contingent
          5720 Lagorce Drive                                                  Unliquidated
          Miami Beach, FL 33140                                               Disputed
          Date(s) debt was incurred 2018-2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $4,617.50
          Wiline Networks Inc.                                                Contingent
          PO Box 102150                                                       Unliquidated
          Pasadena, CA 91189-2150                                             Disputed
          Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $806.08
          William Hennessey                                                   Contingent
          436 Lee Place                                                       Unliquidated
          Exton, PA 19341                                                     Disputed
          Date(s) debt was incurred      1/29/2020                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $543.68
          Yeh, Jih-Chun (CNY)                                                 Contingent
          1F, No. 1, Alley 50                                                 Unliquidated
          Lane 737, Sec. 1, Nei Hu Road                                       Disputed
          Taipei, TAIWAN
                                                                             Basis for the claim:
          Date(s) debt was incurred 3/6/2020
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $372.00
          Zach Lehman                                                         Contingent
          1440 S. Stanley Ave                                                 Unliquidated
          Los Angeles, CA 90019                                               Disputed
          Date(s) debt was incurred 12/13/2019
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $3,182.43
          Zach Lehman                                                         Contingent
          1440 S. Stanley Avenue                                              Unliquidated
          Los Angeles, CA 90019                                               Disputed
          Date(s) debt was incurred February 2020
                                                                             Basis for the claim:    Wages
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $2,058.00
          Zeifang Hsu                                                         Contingent
          101 Blaisdell Way                                                   Unliquidated
          Fremont, CA 94536                                                   Disputed
          Date(s) debt was incurred      2/28/2020                           Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.151     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $6,342.79
           Zeifang Hsu                                                        Contingent
           101 Blaisdell Way                                                  Unliquidated
           Fremont, CA 94536                                                  Disputed
           Date(s) debt was incurred     February 2020                       Basis for the claim:    Wages
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No  Yes
 3.152     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $29,577.86
           Zygintas Papartis (EUR)                                            Contingent
           Sarmos g. 7-2                                                      Unliquidated
           Vilnius 04126                                                      Disputed
           Date(s) debt was incurred 2019-2020
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Nichani Law Firm
           111 N. Market Street, Suite 300                                                            Line      3.12
           San Jose, CA 95113
                                                                                                            Not listed. Explain

 4.2       U.S. Small Business Administration
           409 3rd Street, SW                                                                         Line      3.66
           Washington, DC 20416
                                                                                                            Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                           Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.          $                   216,576.01
 5b. Total claims from Part 2                                                                             5b.    +     $                20,009,412.37

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                  5c.          $                   20,225,988.38




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